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 14
                            UNITED STATES DISTRICT COURT
 15                        CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
 16

 17   CHRISTY PALMER, VARTAN                   CASE NO. 17-CV-6848 DMG (PLAx)
      PIROUMIAN, EDWARD COX, and
 18   JEAN-CLAUDE FRANCHITTI,                  JOINT STIPULATION REGARDING
 19                                            DISCOVERY DISPUTE
                        Plaintiffs,
 20                                            Hon. Paul L. Abrams
            v.
 21
                                               Hearing
      COGNIZANT TECHNOLOGY                     Date: December 15, 2021
 22
      SOLUTIONS CORPORATION and                Time: 10:00 a.m.
 23   COGNIZANT TECHNOLOGY                     Place: Telephonically
      SOLUTIONS U.S. CORPORATION,              Complaint Filed: September 18, 2017
 24
                        Defendants.            Discovery Cut-Off: December 15, 2021
 25
                                               Pre-Trial Conference Date: July 26, 2022
 26                                            Trial Date: August 23, 2022
 27

 28


                              JOINT STIP. RE DISCOVERY DISPUTE
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 1          Pursuant to Federal Rule of Civil Procedure 37(a), Local Rule 37-2, and Magistrate
 2    Judge Abrams’ Procedures, Plaintiffs Palmer, Piroumian, Cox, and Franchitti
 3    (“Plaintiffs”) and Defendants Cognizant Technology Solutions Corporation and
 4    Cognizant Technology Solutions U.S. Corporation (“Cognizant”) submit this Joint
 5    Stipulation regarding whether Plaintiffs’ withholding of communications between
 6    themselves or between a Plaintiff and putative class member with no attorney involved on
 7    the to, cc, or bcc line is improper. Cognizant seeks to compel production of such
 8    documents.
 9    I.    INTRODUCTORY STATEMENTS
 10                A.    Defendants’ Introductory Statement
 11         Plaintiffs Palmer, Piroumian, and Cox produced the vast majority of their
 12   documents in the spring of 2020, roughly a year-and-a half ago. Newly added Plaintiff
 13   Franchitti produced the vast majority of his documents in the spring of 2021. At no time
 14   during production of those documents did Plaintiffs inform Cognizant that they were
 15   withholding any documents on the basis of any privilege from those productions.
 16   Plaintiff Piroumian was deposed on August 23, 2021, Plaintiff Palmer on September 15,
 17   2021, and Plaintiff Franchitti on September 28, 2021. 1 On September 17, 2021,
 18   Plaintiffs produced 106 additional documents pertaining to Mr. Franchitti. In this
 19   production, Plaintiffs redacted several documents, but did not concurrently provide a
 20   log. Plaintiffs provided a three-entry log of their redactions only after being asked for
 21   the basis of their redactions. One of those bases was a “joint prosecution privilege” for
 22   a communication between Mr. Franchitti and Mr. Piroumian that did not involve lawyers
 23   and occurred a year before this lawsuit was filed.
 24

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                  Plaintiff Cox passed away in March 2021, although Cognizant was not
 26
      informed of his death until August 2021. Although Plaintiffs’ counsel was aware of Mr.
 27   Cox’s very serious diagnosis of pancreatic cancer, it did not inform Cognizant of the
      same to enable Cognizant to preserve Mr. Cox’s testimony. A motion for substitution
 28
      of Mr. Cox’s widow in his stead is currently pending before Judge Gee.

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 1          Then, well after completion of all three named Plaintiff depositions and one week
 2    before the close of discovery, Plaintiffs produced roughly 3,800 documents. Along with
 3    that production, Plaintiffs produced a 238 entry privilege log covering documents with
 4    dates prior to and during the lawsuit. A number of the documents on this log were
 5    withheld on the basis of this “joint prosecution” privilege. Cognizant initially elected
 6    not to raise the obvious deficiencies with the log, understanding the discovery deadline
 7    to be October 15. However, in light of Plaintiffs’ argument that the deadline for all
 8    discovery motions is December 16, Cognizant sent Plaintiffs a Rule 37 letter to Plaintiffs
 9    on November 5, 2021 concerning the clear errors in their log and their improper
 10   withholding of documents on the basis of “joint prosecution” privilege.2 Maryott Decl.,
 11   Ex. 1. In response to these obvious issues, Plaintiffs admitted that of the 238 privilege
 12   log designations, they would only continue to stand by 53 of them (Plaintiffs initially
 13   listed 59 on the letter they sent in response to Cognizant, but there were only 53
 14   remaining). Maryott Decl., Ex. 2.
 15         Plaintiffs continue to claim privilege over 53 documents on their log, as well as
 16   privilege over the three redacted documents produced September 17. But, within that
 17   set, the documents over which Plaintiffs claim, or appear to be claiming, joint
 18   prosecution privilege are improperly withheld.              Those documents contain
 19   communications between Plaintiffs or between a Plaintiff and a putative class member
 20   that are, based on descriptions, entirely divorced from an attorney. Yet the joint
 21   prosecution privilege, which is an extension of the attorney-client privilege, only
 22   encompasses communications with an attorney made for the purpose of pursuing a
 23

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                  Plaintiffs have filed a Motion for Review of this Court’s October 18, 2021
 25
      Order which found that their challenges to Cognizant’s privilege log entries for
 26   documents produced in advance of the original discovery deadline were untimely. ECF
 27
      No. 184. Should Judge Gee agree with this Court and deny Plaintiffs’ motion, Cognizant
      intends to withdraw this challenge to Plaintiffs’ privilege log on the same basis—it
 28   would be untimely.
                                                 2
                               JOINT STIP. RE: DISCOVERY DISPUTE
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 1    common legal strategy. Because the documents Plaintiffs seek to shield from production
 2    do not satisfy that criteria, they must be produced.
 3                 B.     Plaintiffs’ Introductory Statement
 4          Cognizant’s request that Plaintiffs be compelled to produce 18 documents
 5    (including one document without redactions) withheld by Plaintiffs pursuant to the joint
 6    prosecution privilege, also known as the common interest privilege, should be denied.
 7    Cognizant issued document requests to Plaintiffs Palmer, Piroumian, and Cox on
 8    September 30, 2019 and May 5, 2020, and to Plaintiff Franchitti on February 21, 2021.
 9    Kotchen Decl. ¶ 2. Plaintiffs began their rolling production of documents on November
 10   19, 2019, with a total of thirteen productions made before the then-existing October 15,
 11   2021 discovery cut-off. Id.; Order at 2 (ECF 157). While the bulk of Plaintiffs’ ESI was
 12   produced in late 2019 and early 2020, on October 10, 2021, Plaintiffs supplemented their
 13   production pursuant to Rule 26, producing 3,786 documents. Kotchen Decl. ¶ 3. The vast
 14   majority of these documents (approximately 3,760 of the 3,786 documents) were emails
 15   from recruiters that had reached out to Plaintiff Piroumian since his initial document
 16   collection. Id. The remaining documents were W-2s, paystubs, or tax returns
 17   documenting Plaintiffs’ income since 2019 (damages-related documents Plaintiffs were
 18   obligated to supplement). Id.
 19         Plaintiffs produced a redactions log, containing just three entries, on September
 20   22, 2021, and a privilege log with 238 entries on October 10. Id. ¶ 4; Cognizant’s Ex. 4
 21   (redactions log); Cognizant’s Ex. 5 (privilege log). There was some delay in producing
 22   the privilege log as the attorney assigned to the document review process is no longer
 23   with Plaintiffs’ counsel’s firm and Plaintiffs’ counsel wanted to ensure that the privilege
 24   log was accurate. Kotchen Decl. ¶ 4. Cognizant issued a Rule 37 letter, detailing
 25   purported “deficiencies” with the privilege log on November 5. Cognizant’s Ex. 1.3 In
 26   response, and in order to narrow the dispute between the parties, Plaintiffs updated the
 27         3
              Cognizant’s letter made no reference to Plaintiffs’ redaction log, and only
 28   challenged entries to Plaintiffs’ privilege log. See id.
                                                 3
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 1    class member, or described as such, that did not involve an attorney (either on the to, cc,
 2    or bcc line)—are protected against disclosure by the joint prosecution privilege.
 3    III. PARTIES’ CONTENTIONS AND POINTS AND AUTHORITIES
 4                    A.   DEFENDANTS’ POSITION
 5          Plaintiffs claim joint prosecution privilege to shield production of several
 6    documents, but that privilege does not permit them to do so. Plaintiffs should be
 7    required to produce the documents identified on their privilege log as: (1) Priv –
 8    0000104; (2) Priv – 0000109; (3) Priv – 0000114; (4) Priv – 0000117; (5) Priv –
 9    0000119; (6) Priv – 0000120; (7) Priv – 0000121; (8) Priv – 0000516; (9) Priv –
 10   0000521; (10) Priv – 0000522; (11) Priv – 0000523; (12) Priv – 0000524; (13) Priv –
 11   0000540; (14) Priv – 0000571; (15) Priv – 0000572; (16) Priv – 0000573; (17) Priv –
 12   0000575, as well as an unredacted version of Pls-Cog-0316906.
 13         First, the redactions to Pls-Cog-0316906 under a joint prosecution privilege are
 14   impermissible because the redacted communications do not involve an attorney. Maryott
 15   Decl., Ex. 5.
 16         Second, Plaintiffs continue to withhold two documents—identified as Priv –
 17   0000573-74 and Priv – 0000581—on their log, which are both dated 3/26/2020 and
 18   described as “Attachment to email seeking legal advice concerning lawsuit,
 19   communi[c]ation [sic] between putative joint plaintiffs discussing and collecting
 20   information for potential claims, and aiding in preparation of EEOC Charge.” Neither
 21   of these documents appear to involve communication with an attorney and are therefore
 22   unprotected by the attorney-client privilege and joint prosecution privilege.5
 23         Finally, Priv – 0000104; Priv – 0000114; Priv – 0000117; Priv – 0000119; Priv –
 24   0000120; Priv – 0000121; Priv – 0000516; Priv – 0000521; Priv – 0000522; Priv –
 25                   5
                          Plaintiffs represent that one of these documents includes an attorney
 26   in the recipient line. Yet that document appears to be an attachment, not an email.
 27
      Although Cognizant does not seek for Plaintiffs to produce any document that is a
      communication with counsel, the description of the document on Plaintiffs’ privilege
 28   log suggests that this attachment was not an attorney-client communication.
                                                 5
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 1    0000523; Priv – 0000524; Priv – 0000540; Priv – 0000571; Priv – 0000572 are withheld
 2    on the basis of Joint Prosecution with only the following description: “Communications
 3    between putative joint plaintiffs discussing and collecting information for potential
 4    claims.” Given that none of these communications include an attorney, nor are they
 5    communications reflecting the legal advice of an attorney, they are improperly withheld.
 6    Similarly, Plaintiffs withhold Priv – 0000109 on the basis that it is “Communications
 7    between putative joint plaintiffs discussing and collecting information for potential
 8    claims and sharing advice from counsel on email chain.” To the extent there are portions
 9    of the document that do not involve the advice of counsel specifically, those portions of
 10   the [c]ommunications between putative joint plaintiffs discussing and collecting
 11   information for potential claims,” should be produced.
 12         “Rather than a separate privilege,” In re Pac. Pictures Corp., 679 F.3d 1121, 1129
 13   (9th Cir. 2012), “[t]he Ninth Circuit has long recognized” that the joint prosecution
 14   privilege “is an extension of the attorney-client privilege” United States v. Gonzalez,
 15   669 F.3d 974, 978 (9th Cir. 2012) (internal quotations omitted). The attorney-client
 16   privilege is ordinarily waived where a client discloses the contents of an otherwise
 17   privileged communication to a third party. See United States v. Gann, 732, F.2d 714,
 18   723 (9th Cir. 1984). The joint prosecution privilege provides “a narrow exception to
 19   [this] general rule,” Shopify Inc. v. Express Mobile, Inc., No. 20-MC-80091-JSC, 2020
 20   WL 4732334, at *8 (N.D. Cal. Aug. 14, 2020): It “allow[s] attorneys for different clients
 21   pursuing a common legal strategy to communicate with each other” in confidence, In re
 22   Pac. Pictures Corp., 679 F.3d at 1129. For this reason, the joint prosecution privilege
 23   “does not make a document or communication privileged; rather, it is a doctrine that
 24   prevents waiver of a pre-existing privilege if the privileged information is shared only
 25   with those with a common legal interest.” Waymo LLC v. Uber Techs., Inc., No. 17-cv-
 26   00939-WHA (JSC), 2017 WL 2485382, at *7 (N.D. Cal. June 8, 2017) (internal
 27   quotation marks and citation omitted); accord Nidec Corp. v. Victor Co. of Japan, 249
 28   F.R.D. 575, 578 (N.D. Cal. 2007) (“[S]ince it is an anti-waiver exception, [the joint
                                                 6
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 1    prosecution privilege] comes into play only if the communication at issue is privileged
 2    in the first instance.”).
 3           An understanding of the joint defense privilege—the doctrine from which the joint
 4    prosecution privilege evolved—helps clarify the scope of the joint prosecution privilege.
 5    The joint defense privilege, also referred to as the “common interest” privilege, “protects
 6    communications made when a nonparty sharing the client’s interests is present at a
 7    confidential communication between attorney and client.” United States v. Zolin, 809
 8    F.2d 1411, 1417 (9th Cir. 1987), opinion withdrawn in part, 842 F.2d 1135 (9th Cir.
 9    1988), and overruled on other grounds by United States v. Jose, 131 F.3d 1325 (9th Cir.
 10   1997). “The concept of a joint defense privilege first arose in the context of criminal
 11   co-defendants whose attorneys shared information in the course of devising a joint
 12   strategy for their clients’ defense.” In re Grand Jury Subpoenas, 902 F.2d 244, 248 (4th
 13   Cir. 1990). The Ninth Circuit has characterized “[t]he paradigm case” of the joint
 14   defense privilege as one “where two or more persons subject to possible indictment
 15   arising from the same transaction make confidential statements that are exchanged
 16   among their attorneys.” Zolin, 809 F.2d at 1417. Courts in this Circuit have extended
 17   the same privilege to cooperating plaintiffs to avoid a scenario in which “cooperating
 18   defendants [are] situated better than their plaintiff counterparts.” Sedlacek v. Morgan
 19   Whitney Trading Grp., Inc., 795 F. Supp. 329, 331 (C.D. Cal. 1992).
 20          Plaintiffs nevertheless urge this Court to broaden the scope of the joint
 21   prosecution privilege far beyond its intended scope under settled law. Plaintiffs allege
 22   that communications between them prior to commencement of this suit are protected
 23   from disclosure under the joint prosecution privilege—despite the fact that those
 24   communications do not appear to involve counsel.
 25          Plaintiffs are wrong. Plaintiffs fail to acknowledge that the joint prosecution
 26   privilege “requires . . . that the elements of attorney-client privilege are met.” Waymo,
 27   2017 WL 2694191, at *4. And they ignore the plethora of cases from this Circuit that
 28   have applied the joint prosecution privilege only to communications between parties
                                                    7
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1    with a common interest and their respective attorneys that are designed to further the
2    parties’ common legal strategy. See, e.g., United States v. Nelson, No. 19-CV-1087-
3    CAB-WVG, 2020 WL 8674125, at *2 (S.D. Cal. July 10, 2020) (applying the joint
4    prosecution privilege to “aggrieved tenants’ ongoing communications with the
5    Government in furtherance of their shared objective to obtain relief from Defendant
6    under the Fair Housing Act”); Gallegos v. Roman Cath. Archbishop of San Francisco,
7    No. 3:16-CV-01588-LB, 2017 WL 740813, at *2 (N.D. Cal. Feb. 27, 2017) (applying
8    the joint prosecution privilege because communications “do not lose any attorney-client
9    privilege that otherwise applies simply because they were made in the presence of the
10   other plaintiffs”); Perez v. Brain, No. CV143911JAKAGRX, 2015 WL 12914362, at *2
11   (C.D. Cal. Aug. 20, 2015) (“communications with counsel” protected by joint
12   prosecution privilege when “[t]he communication was made in pursuit of a joint
13   strategy”); California Inst. of Tech. v. Hughes Commun., Inc., 213CV07245MRPJEM,
14   2015 WL 11120674, at *1 (C.D. Cal. Feb. 24, 2015) (rejecting the joint prosecution
15   privilege because “no attorney directed the communications between the parties” or was
16   otherwise involved in the communication); Integrated Glob. Concepts, Inc. v. j2 Glob.,
17   Inc., No. 512CV03434RMWPSG, 2014 WL 232211, at *2 (N.D. Cal. Jan. 21, 2014)
18   (rejecting application of the common interest doctrine to “communications with two
19   entities . . . which do not provide any form of legal service as their business”); Griffith
20   v. Davis, 161 F.R.D. 687, 692-93 (C.D. Cal. 1995) (concluding that “the memorandum
21   is not shielded from discovery” under the joint defense privilege “unless it meets the
22   other requirements of [] the attorney-client privilege”).
23         Indeed, Plaintiffs fail to cite a single case in which a court applied the joint
24   prosecution privilege to correspondence that did not involve an attorney or was not made
25   at the direction of an attorney. For good reason: No such case exists. Because the joint
26   prosecution privilege is simply “an extension to ordinary waiver rules” surrounding
27   attorney-client privilege, it only protects communications with counsel. In re Pac.
28   Pictures Corp., 679 F.3d at 1129.
                                                 8
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1          The cases Plaintiffs cite do not support their argument. Plaintiffs rely on Sedlacek
2    v. Morgan Whitney Trading Grp., Inc. for the proposition that the joint prosecution
3    privilege encompasses communication between “cooperating plaintiffs.” 795 F. Supp.
4    329, 331 (C.D. Cal. 1992). Yet Plaintiffs’ focus on that language distorts the court’s
5    actual conclusion: Sedlacek simply held that “to be consistent” and avoid a result in
6    which “cooperating defendants would be situated better than their plaintiff
7    counterparts,” the protections of the joint defense privilege must extend to
8    communications between joint plaintiffs. Id. In defining the joint defense privilege, the
9    court cited United States v. Zolin, 809 F.2d 1411, 1417 (9th Cir. 1987). And Zolin—
10   consistent with the longstanding settled law in this Circuit—defined the joint defense
11   privilege as protecting “communications made when a nonparty sharing the client’s
12   interests is present at a confidential communication between attorney and client.” Id.;
13   see id. (describing “[t]he paradigm case” of the joint defense privilege as “where two or
14   more persons subject to possible indictment arising from the same transaction make
15   confidential statements that are exchanged among their attorneys) (emphasis added).
16   Sedlacek did not, as Plaintiffs suggest, reinvent the scope of the common interest
17   doctrine. It simply extended the protections afforded by the joint defense privilege—
18   limited to communications between parties who share a common legal interest and their
19   counsel—to cooperating plaintiffs.
20         Nor does Leader v. U.S. Department of Justice support Plaintiffs’ argument. No.
21   11-540 TUC DCB, 2012 WL 13027964 (D. Ariz. Aug. 9, 2012). There, relying on the
22   Fourth Circuit’s decision in In re Grand Jury Subpoenas, 902 F.2d 244, 249 (4th Cir.
23   1990), the district court explained that the joint prosecution privilege allows “persons
24   who share a common-interest in litigation [to] be able to communicate with their
25   respective attorneys and with each other to more effectively prosecute or defend their
26   claims.” Leader, 2012 WL 13027964, at *2 (quoting In re Grand Jury Subpoenas, 902
27   F.2d at 249). But In re Grand Jury Subpoenas makes clear that the joint prosecution
28   privilege is limited to communications between plaintiffs and attorneys: The Fourth
                                                9
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1    Circuit explained that “[t]he . . . joint [prosecution] privilege first arose in the context
2    of criminal co-defendants whose attorneys shared information in the course of devising
3    a joint strategy for their clients’ [case]” and that the privilege protects “the free flow of
4    information from client to attorney logically exists whenever multiple clients share a
5    common interest about a legal matter.”         902 F.2d at 248-49.       Because the joint
6    prosecution privilege is “an exception to waiver,” the doctrine “presupposes the
7    existence of an otherwise valid privilege.” Id. at 249. The Fourth Circuit decision cited
8    by Leader did not conclude that the joint prosecution privilege may apply to
9    communications between plaintiffs that bear no connection to counsel. Leader therefore
10   lends no support to Plaintiffs’ argument.
11         The last decision on which Plaintiffs rely fares no better. In Amphastar Pharms.,
12   Inc. v. Avventis Pharma SA, the court explained that the joint defense privilege “expands
13   the application of the [attorney-client privilege] to circumstances in which parties are
14   represented by separate counsel but engage in a common legal enterprise” No. EDCV
15   09-23-MJG (OPX), 2013 WL 12136380, at *4 (C.D. Cal. Aug. 9, 2013), order clarified,
16   No. EDCV 09-23-MJG (OPX), 2013 WL 12149230 (C.D. Cal. Sept. 27, 2013). The
17   three out-of-Circuit cases Amphastar cites for that proposition demonstrate that the joint
18   defense privilege, like the joint prosecution privilege, require that communication
19   involve an attorney. In United States v. Schwimmer, for example, the Second Circuit
20   defined the joint prosecution privilege as “an extension of attorney client privilege”—
21   “[i]t serves to protect the confidentiality of communications passing from one party to
22   the attorney for another party.” 892 F.2d 237, 243 (2d Cir. 1989) (emphasis added). In
23   Eisenberg v. Gagnon, the court held that communication was encompassed by the joint
24   defense privilege because it was “between a defendant and an attorney who was
25   responsible for coordinating a common defense position.” 766 F.2d 770, 787 (3rd Cir.
26   1985) (emphasis added); see id. at 787–88 (joint defense privilege encompasses
27   “[c]ommunications to an attorney to establish a common defense strategy . . . even
28   though the attorney represents another client with some adverse interests”). And in
                                                10
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1    Matter of Bevill, Bresler & Schulman, the last case cited by the district court, the Third
2    Circuit made clear that the joint defense privilege is limited to “communications between
3    an individual and an attorney.” 805 F.2d 120, 125 (3rd Cir. 1986). Neither Amphastar
4    nor the cases it relies on extended the common interest doctrine to communication
5    between parties that did not involve an attorney.
6           The communications that Plaintiffs seek to shield from production did not
7    involve an attorney. They are therefore unprotected by the joint prosecution privilege.
8    This Court should reject Plaintiffs’ request to expand the joint prosecution privilege in
9    a way that protects broad swaths of correspondence entirely divorced from its underlying
10   rationale: to allow attorneys for different clients pursuing a common legal strategy to
11   communicate with each other in confidence. See Hunydee v. United States, 355 F.2d
12   183, 185 (9th Cir. 1965).
13                B.     PLAINTIFFS’ POSITION
14         Cognizant seeks the production of 17 documents withheld pursuant to the joint
15   prosecution privilege and an additional document redacted on the basis of the joint
16   prosecution privilege. The joint prosecution privilege is a “‘common-interest’ doctrine[]
17   that constitute[s] [an] exception[] to the rule on waiver.” Leader v. U.S. Dep’t of Justice,
18   CV 11-540, 2012 WL 13027964, at *2 (D. Ariz. Aug. 9, 2012).6 “‘Whether an action is
19   ongoing or completed, whether the jointly interested persons are defendants or
20   plaintiffs, and whether the litigation or potential litigation is civil or criminal, the
21   rationale for the joint defense rule remains unchanged: persons who share a common
22   interest in litigation should be able to communicate with their respective attorneys and
23   with each other to more effectively prosecute or defend their claims’” Sedlacek v.
24   Morgan Whitney Trading Grp., Inc., 795 F. Supp. 329, 331 (C.D. Cal. 1992)7 (second
25
           6
             Plaintiffs cite Leader only for the position that the joint prosecution privilege is
26   also referred to as the common interest privilege.
27         7
            Plaintiffs cite Sedlacek because it extended the joint defense privilege to
28
     “cooperating plaintiffs,” and don’t seek to “reinvent the scope of the common interest

                                                  11
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1    emphasis added) (quoting In re Grand Jury Subpoenas, 902 F.2d 244, 249 (4th
2    Cir.1990)). “In order to ensure that inequities in discovery are not established in
3    cooperating defendants’ favor, . . . the common interest rule [has been extended] to
4    cooperating plaintiffs” and “the privilege is not limited to co-parties.” Id. Accordingly,
5    “[t]he common interest [or joint prosecution] privilege           applies where: (1) the
6    communication was made by separate parties in the course of a matter of common
7    interest; (2) the communication was designed to further that effort; and (3) the privilege
8    has not been waived.” Microban Sys., Inc. v. Skagit Nw. Holdings, Inc., No. C15-932,
9    2016 WL 7839220, at *1 (W.D. Wash. Aug. 17, 2016).
10         The joint prosecution privilege protects communications encompassed by the
11   attorney-client privilege as well as communications encompassed by the work product
12   doctrine. The attorney-client privilege applies “(1) [w]hen legal advice of any kind is
13   sought (2) from a professional legal adviser in his or her capacity as such, (3) the
14   communications relating to that purpose, (4) made in confidence (5) by the client, (6)
15   are, at the client’s instance, permanently protected (7) from disclosure by the client or
16   by the legal adviser (8) unless the protection be waived.” United States v. Martin, 278
17   F.3d 988, 999 (9th Cir. 2002). For documents “‘to qualify for protection . . . [as work
18   product], documents must have two characteristics: (1) they must be prepared in
19   anticipation of litigation or for trial, and (2) they must be prepared by or for another
20   party or by or for that other party's representative.’” In re Grand Jury Subpoena, 357
21   F.3d 900, 907 (9th Cir. 2004) (quoting In re California Pub. Utils. Comm'n, 892 F.2d
22   778, 780–81 (9th Cir.1989)); Fed. R. Civ. P. 26(b)(3)(A) (“Ordinarily, a party may not
23   discover documents and tangible things that are prepared in anticipation of litigation or
24   for trial by or for another party or its representative.”).
25

26
     doctrine” as Cognizant asserts. See p. 9, supra. Plaintiffs do not cite Amphastar
27   Pharmaceuticals discussed at length by Cognizant, see p. 10, but had previously cited
     that case in their letter to Cognizant for the position that the joint prosecution privilege
28
     this privilege applies also to both “litigation” and “potential litigation.” See Ex. A at 5.
                                                 12
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1          With respect to the 18 documents withheld (or redacted) pursuant to the joint
2    prosecution privilege, additional details are provided below to substantiate Plaintiffs’
3    claims without a waiver of the privilege.
4       Bates       Parties with    How Communication           Underlying Privilege
                 Common Interest        Was Designed to            Not Waived
5
                                       Further Common
6                                            Interest
7
      Pls-Cog- Plaintiffs           September 16, 2016          Work product
      0316906 Piroumian and         Email chain gathering
8     (redacted) Franchitti         information in
9
                                    anticipation of
                                    litigation supporting
10                                  claims. Plaintiffs
11                                  redacted only the
                                    communication
12                                  between Plaintiffs, and
13                                  produced the
                                    remainder of the
14                                  email.
15    Priv –     Plaintiff          October 2016 Email          Work product and
      0000104 Piroumian and         chain gathering             attorney-client
16               Putative Class     information and             privilege
17               Member             preparing EEOC
                                    charges in anticipation
18                                  of litigation
19                                  supporting claims.
                                    Email chain
20                                  specifically references
21                                  advice from counsel
                                    concerning documents
22                                  prepared in
23                                  anticipation of
                                    litigation.
24    Priv –     Plaintiffs Palmer, May to August 2017          Work product and
25    0000109 Piroumian, and        Email chain gathering       attorney-client
                 Franchitti         information and             privilege
26                                  preparing response to
27                                  EEOC charge in
                                    anticipation of
28                                  litigation. Email
                                               13
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1                                  chain includes
2                                  communications
                                   between Plaintiff
3                                  Palmer and
4                                  Plaintiffs’ counsel.
     Priv –    Plaintiff           October 2016 Email        Work product
5    0000114   Piroumian and       chain gathering
6              Putative Class      information in
               Member              anticipation of
7                                  litigation supporting
8                                  claims.
     Priv –    Plaintiffs Palmer   October 19, 2016          Work product
9
     0000117   and Piroumian       Email chain gathering
10                                 information and
                                   preparing EEOC
11
                                   charges in anticipation
12                                 of litigation
                                   supporting claims.
13
     Priv –    Plaintiffs Palmer   October 19, 2016          Work product
14   0000119   and Piroumian       Email chain gathering
                                   information and
15
                                   preparing EEOC
16                                 charges in anticipation
                                   of litigation
17
                                   supporting claims.
18   Priv –    Plaintiffs          April 26, 2017 Email      Work product
     0000120   Piroumian and       chain gathering
19
               Franchitti          information in
20                                 anticipation of
                                   litigation supporting
21
                                   claims and discussing
22                                 litigation strategy.
23
     Priv –    Plaintiffs Palmer   October 19, 2016          Work product
     0000121   and Piroumian       Email chain gathering
24                                 information and
25                                 preparing EEOC
                                   charges in anticipation
26                                 of litigation
27                                 supporting claims.
     Priv –    Plaintiffs Palmer   October 31, 2016          Work product
28   0000516   and Piroumian       Email chain gathering
                                            14
                           JOINT STIP. RE: DISCOVERY DISPUTE
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1                                     information in
2                                     anticipation of
                                      litigation supporting
3                                     claims.
4     Priv –      Plaintiffs Palmer   October 14, 2016         Work product
      0000521     and Franchitti      Email chain gathering
5                                     information in
6                                     anticipation of
                                      litigation supporting
7                                     claims.
8     Priv –      Plaintiffs Palmer   October 13-14, 2016      Work product
      0000522     and Franchitti      Email Chain
9
                                      discussing preparation
10                                    of EEOC charges in
                                      anticipation of
11
                                      litigation and
12                                    referencing edits from
                                      counsel. 8
13
      Priv –      Plaintiffs Palmer   October 13-14, 2016      Work product
14    0000523     and Franchitti      Email Chain
                                      discussing preparation
15
                                      of EEOC charges in
16                                    anticipation of
                                      litigation and
17
                                      referencing edits from
18                                    counsel.
      Priv –      Plaintiffs Palmer   October 2015 Email       Work product
19
      0000524     and Franchitti      discussing preparation
20                                    of EEOC charges in
                                      anticipation of
21
                                      litigation.
22    Priv –      Plaintiffs Palmer   September and            Work product
23
      0000540     and Piroumian       October 2016 Email
                                      Chain gathering
24                                    information
25         8
             “[T]he sharing of counsel's advice among parties does not waive any privilege.”
26   Reginald Martin Agency, Inc. v. Conseco Med. Ins. Co., 460 F.Supp.2d 915, 919 (S.D.
27
     Ind. 2006) (citing IBJ Whitehall Bank & Trust Co. v. Cory & Assoc., No. CIV A. 98 C
     5827, 1999 WL 617842, at *6 (N.D. Ill. Aug. 12, 1999)).
28
                                               15
                              JOINT STIP. RE: DISCOVERY DISPUTE
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1                                 supporting claims and
2                                 preparing EEOC
                                  charges in anticipation
3                                 of litigation.
4    Priv –    Plaintiffs         May 5 and 8, 2017          Work product
     0000571   Piroumian and      Email Chain gathering
5              Cox                information
6                                 supporting claims in
                                  anticipation of
7                                 litigation and
8                                 specifically for
                                  counsel.
9
     Priv –    Plaintiffs         May 5, 2017 Email          Work product
10   0000572   Piroumian and      Chain gathering
               Cox                information
11
                                  supporting claims in
12                                anticipation of
                                  litigation and
13
                                  specifically for
14                                counsel.
     Priv –    Plaintiffs         March 26, 2020 Email       Work product and
15
     0000573   Piroumian and      from Plaintiff Cox to      attorney-client
16             Cox                Plaintiffs’ counsel,       privilege
                                  Lindsey Grunert,
17
                                  Esq., forwarding
18                                materials prepared in
                                  anticipation of
19
                                  litigation in March
20                                2017.
     Priv –    Plaintiffs         Attachment to prior        Work product
21
     0000575   Piroumian and      email which includes
22             Cox                Plaintiffs’ counsel.
23
                                  The document itself is
                                  material prepared for
24                                counsel supporting
25
                                  Plaintiffs’ claims prior
                                  to the filing of the
26                                lawsuit in anticipation
27
                                  of litigation.

28
                                           16
                          JOINT STIP. RE: DISCOVERY DISPUTE
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1          Cognizant concedes that two documents, Priv – 0000109 and Priv – 0000573,
2    which include communications with counsel, are privileged and should not be produced.
3    See p. 5 n.5, supra (“Cognizant does not seek for Plaintiffs to produce any document
4    that is a communication with counsel”).
5          However, with respect to the remaining 16 documents, Cognizant ignores
6    altogether the application of the work product doctrine to the communications and
7    incorrectly argues that, for the communications to be considered privileged as an
8    extension to the attorney-client privilege, an attorney must be present on the
9    communications. See pp. 7-8, supra. First, the joint prosecution privilege clearly
10   encompasses work product communications. See United States ex. Rel. Saandi v.
11   Material s& Electrochems. Rsch. Corp., CV 05-124, 2009 WL 10690273, at *8 (D. Ariz.
12   July 14, 2009 (holding that the “Government holds a joint prosecution privilege over
13   work product, including material prepared by the Relator in anticipation of litigation.”).
14   Second, as decided by district courts within the Ninth Circuit, an attorney need not be
15   copied on joint prosecution communications to be protected as an extension of the
16   attorney client privilege or work product doctrine. Microban Sys., 2016 WL 7839220,
17   at *1 (applying privilege to communications between non-lawyers where the
18   communications involve opinions of counsel given to only one party and where “the
19   interests of both [the parties] were aligned in attempt to determine the value of
20   Microban’s intellectual property, and to determine whether litigation would be required
21   to secure the full value of those rights”); W. Sugar Coop. v. Archer-Daniels-Midland
22   Co., No. CV 11-3473, 2015 WL 12696192, at *1, 3-4 (C.D. Cal. Nov. 4, 2015) (finding
23   communications between “Plaintiffs and like-minded groups” protected under the
24   common interest privilege so long as they “focus on purely legal issues, like the
25   proposed cease and desist order and the lawsuit that would follow if Plaintiffs’ other
26   efforts failed” to address Defendants’ false advertising); Eagle Harbor Holdings, LLC
27   v. Ford Motor Co., No. C11-5503, 2014 WL 1681623, at *1 (W.D. Wash. Apr. 28, 2014)
28   (“The Court agrees with Plaintiffs that otherwise privileged communications with
                                               17
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1    investors or potential investors will not waive the privileged nature of that
2    communication.”); cf. In re Imperial Corp. of Am., 174 F.R.D. 475, 478 (S.D. Cal. 1977)
3    (“In this case, Shea & Gould seeks production of all documents between . . . plaintiffs
4    themselves concerning this lawsuit. Ordinarily, such a request seeks production of
5    documents protected from discovery by the attorney-client privilege, work-product
6    protection and/or joint prosecution privilege.”).
7          Other courts are in accord. See IBJ Whitehall Bank & Trust Co., 1999 WL 617842,
8    at *6 (finding “a communication between two parties, each having a common interest in
9    litigation, may be privileged if . . . the parties are communicating work product that is
10   related to the litigation”); Reginald Martin Agency, Inc., 460 F.Supp.2d at 919-20
11   (“[T]he Court agrees with the Plaintiffs that the common interest doctrine may prevent
12   waiver of otherwise attorney-client privileged communications among these Plaintiffs
13   even when counsel was not present” so long as the communications “concern the
14   lawsuit, but also implicate counsel’s legal advice or mental impressions”); BASF
15   Aktiengesellschaft v. Reilly Indus., Inc. 224 F.R.D. 438, 442-43 (S.D. Ind. 2004) (letter
16   prepared by plaintiff constituted work product, and such protection was extended under
17   the common interest doctrine when shared with third party); Ford Motor Co. v. Mich.
18   Consol. Gas. Co., No. 08-CV-13503, 2013 WL 5435184, at *5 (E.D. Mich. Sept. 27,
19   2013) (finding “[a]ny communication between Ford and [Plaintiff] Severstal is protected
20   by the common-interest privilege, provided that such communication contains
21   privileged information and that Ford and Severstal's legal interest [i]s identical”)
22         Because each of the documents withheld by Plaintiffs were communications
23   between Plaintiffs or between Plaintiff Piroumian and another terminated employee who
24   filed a class-based EEOC discrimination charge gathering information in anticipation of
25   litigation (i.e., work product), the joint prosecution privilege is extended to these
26   documents. Accordingly, Cognizant’s motion to compel should be denied.
27

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                                                18
                               JOINT STIP. RE: DISCOVERY DISPUTE
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1    DATED: November 24, 2021         KOTCHEN & LOW LLP
2

3                                     By: /s/Daniel Kotchen
4                                     Daniel Kotchen

5                                     Attorney for Plaintiffs
6

7    DATED: November 24, 2021         GIBSON, DUNN & CRUTCHER LLP
8

9                                     By: /s/ Michele L. Maryott
10                                    Michele L. Maryott

11                                    Attorney for Defendants
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                          JOINT STIP. RE: DISCOVERY DISPUTE
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1                               SIGNATURE ATTESTATION
2
           Pursuant to Local Rule 5-4.3.4(a)(2), I attest that concurrence in the filing of this
3

4    document has been obtained from the other signatories.
5

6    DATED: November 24, 2021                      By: /s/ Michele L. Maryott
                                                   Michele L. Maryott
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1                              CERTIFICATE OF SERVICE
2
           I hereby certify that a true and correct copy of the foregoing was served on all
3

4    counsel of record by electronic service through the Court’s CM/ECF system.
5

6    DATED: November 24, 2021                    By: /s/ Michele L. Maryott
                                                 Michele L. Maryott
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                             JOINT STIP. RE: DISCOVERY DISPUTE
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